         Case 1:25-cv-01248-RC          Document 15          Filed 04/28/25   Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LEARNING RESOURCES, INC. and
HAND2MIND, INC.,

                       Plaintiffs,

                v.
                                                           Civ. Action No. 25-cv-01248-RC
DONALD J. TRUMP, President of the United
States, in his official capacity; KRISTI NOEM,
Secretary of the Department of Homeland Security,
in her official capacity; U.S. DEPARTMENT OF
HOMELAND SECURITY; SCOTT BESSENT,
Secretary of the Treasury, in his official capacity;
U.S. DEPARTMENT OF TREASURY;
HOWARD LUTNICK, Secretary of Commerce, in
his official capacity; UNITED STATES
DEPARTMENT OF COMMERCE; PETE R.
FLORES, Acting Commissioner of Customs &
Border Protection, in his official capacity; U.S.
CUSTOMS & BORDER PROTECTION;
JAMIESON GREER, U.S. Trade Representative,
in his official capacity; and THE OFFICE OF THE
U.S. TRADE REPRESENTATIVE,

                       Defendants.


                     PLAINTIFFS’ PARTIALLY OPPOSED MOTION TO
                        SET BRIEFING AND HEARING SCHEDULE

        This lawsuit challenges Defendants’ unlawful actions in imposing tariffs under the

 International Emergency Economic Powers Act (“IEEPA”) on most of the United States’s trading

 partners. Those actions are not only unprecedented, but are irreparably harming Plaintiffs

 Learning Resources, Inc. and hand2mind, Inc.—American family-owned businesses that develop

 educational products for schools and families.        Accordingly, Plaintiffs seek a preliminary

 injunction that would enjoin the agency Defendants and their agents, employees, and all persons



                                                       1
        Case 1:25-cv-01248-RC            Document 15       Filed 04/28/25      Page 2 of 4




acting under their direction and control, from taking any action to collect tariffs from Plaintiffs

under the challenged orders.

       The parties have conferred about an appropriate schedule for further proceedings, including

in light of applicable local rules, and have agreed on the schedule proposed below—subject to the

caveats discussed herein.

       A.      Briefing and Argument Schedule

       The parties have agreed on the following proposed briefing and argument schedule with

respect to Plaintiffs’ Motion for Preliminary Injunction (ECF No. 9) and Defendants’ Motion to

Transfer (ECF No. 8):

     PROPOSED DATE             FILING

     May 1, 2025               Defendants’ Response to Preliminary Injunction Motion

     May 7, 2025               Plaintiffs’ Reply in support of its Preliminary Injunction
                               Motion and Plaintiffs’ Response to Transfer Motion

     May 12, 2025              Defendants’ Reply in support of its Transfer Motion

     May 15 or 16, 2025        Hearing


       B.      Order of Decision

       The parties disagree, however, over whether the Court should consider the Preliminary

Injunction Motion and Transfer Motion together (Plaintiffs’ position), or resolve the Transfer

Motion first (Defendants’ position).

       Plaintiffs’ position. The Court should address both the Preliminary Injunction Motion and

the Transfer Motion at the hearing, as the two motions largely rise and fall together. Plaintiffs’

principal argument in support of its request for a preliminary injunction is that the statute on which

tariffs were imposed, IEEPA, “does not authorize the President to impose tariffs.” Preliminary


                                                      2
        Case 1:25-cv-01248-RC            Document 15         Filed 04/28/25       Page 3 of 4




Injunction Mot. 17; see Complaint (ECF No. 1) (“[T]his civil action . . . does not arise from a law

authorizing the imposition of tariffs within the meaning of 28 U.S.C. § 1581(i)(1)(B).”). But

Defendants seek to transfer this matter to the Court of International Trade on the opposite basis:

that IEEPA does provide for tariffs. See Transfer Mot. 8-9 (seeking transfer on the ground that

the Court of International Trade has exclusive jurisdiction over, inter alia, a civil action that “arises

out of any law of the United States providing for . . . tariffs, duties, fees or other taxes on the

importation of merchandise for reasons other than the raising of revenue”) (quoting 28 U.S.C.

§ 1581(i)(1)(B)) (emphasis added)).

        In short, a decision holding that Plaintiffs are likely to succeed on the merits of their

principal claim—that IEEPA does not “provid[e] for . . . tariffs”—would also require denying

Defendants’ Transfer Motion. Given that the two motions involve obviously overlapping and

potentially dispositive issues, both logic and judicial economy strongly favor addressing both

motions at the same hearing. That is particularly true because the Preliminary Injunction Motion

will be fully briefed five days before the Transfer Motion, and because Plaintiffs have already

asked that their preliminary injunction motion be heard within 21 days under Local Rule 65.1(d)–

“i.e., by Thursday, May 15, 2025.” Transfer Mot. 1.

        Defendants’ position. Defendants state their position as follows: “Because Defendants’

motion to transfer goes to the Court’s jurisdiction, Defendants respectfully request that the Court

resolve that motion first, and consider the Preliminary Injunction Motion only if the Court denies

the transfer request.” See also Webber v. Dep’t of Homeland Sec., No. 4:25-cv-26 (D. Mont. Apr.

25, 2025), ECF No. 40 (transferring similar case to the Court of International Trade and vacating

preliminary injunction hearing).




                                                       3
        Case 1:25-cv-01248-RC        Document 15        Filed 04/28/25     Page 4 of 4




                                           *****

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter the above

briefing and argument schedule.



 Dated: April 28, 2025                          Respectfully submitted,

                                                /s/ Pratik A. Shah
                                                Pratik A. Shah
                                                  D.C. Bar No. 497108
                                                James E. Tysse
                                                  D.C. Bar No. 978722
                                                Matthew R. Nicely
                                                   D.C. Bar No. 430564
                                                Daniel M. Witkowski (admission pending)
                                                  D.C. Bar No. 1028791
                                                Kristen E. Loveland
                                                  D.C. Bar No. 1684978
                                                AKIN GUMP STRAUSS HAUER
                                                  & FELD LLP
                                                2001 K Street N.W.
                                                Washington, D.C. 20006
                                                Tel: (202) 887-4000
                                                pshah@akingump.com

                                                Counsel for Plaintiffs




                                                  4
